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FILED

IN THE UNITED STATES DISTRICT COURT JAN 24
FOR THE SOUTHERN DISTRICT OF ILLINOIS 2021

CLERK, U.S DISTRICT
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SOUTHERN DISTRICT OF ILLINOIS
EAST ST. Louis OFFICE

CRIMINAL NO. a '300) | ~ DWO

UNITED STATES OF AMERICA, )
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LAGARDO R. WRIGHT, ) Title 18, United States Code, Sections 1349
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Plaintiff,
vs.
AIJJEIGH T. MCSHAN, and, and 1344(2), 2

CEDRIC A. SHEARD, JR.
(also known as “Doosie”’)

Defendants.
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

Conspiracy to Commit Bank Fraud — 18 U.S.C. § 1349
1. From at least February 19, 2019, and continuing until at least February 20, 2020, in
St. Clair County, within the Southern District of Illinois, and elsewhere,
LAGARDO R. WRIGHT,
AIJEIGH T. MCSHAN, and
CEDRIC A. SHEARD, JR.,
defendants herein, and others both known and unknown, did knowingly and willfully conspire and
agree among themselves and each other to devise and execute a scheme and artifice to obtain
money and funds owned by, and in the custody and control of multiple banks, the deposits of which
were insured by the Federal Deposit Insurance Corporation, by means of materially false and

fraudulent pretenses, representations, and promises, in violation of Title 18, United States Code,

Section 1344(2).
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2. It was part of the conspiracy that LAGARDO R. WRIGHT, AIJEIGH T.
MCSHAN, and CEDRIC A. SHEARD, JR. obtained account information of individuals with
bank accounts at federally insured banks, including online usernames, passwords, pin numbers,
answers to security questions, and other identifying information.

3. It was further part of the conspiracy that LAGARDO R. WRIGHT, AIJEIGH T.
MCSHAN, and CEDRIC A. SHEARD, JR. obtained the account information by soliciting
individuals on social media and elsewhere to provide their personal account information in
exchange for a portion of whatever funds could be obtained using the bank account.

4. It was further part of the conspiracy that LAGARDO R. WRIGHT accessed the
individuals’ bank accounts to check account balances and withdrawal limits.

5. It was further part of the conspiracy that LAGARDO R. WRIGHT, AIJEIGH T.

MCSHAN, CEDRIC A. SHEARD, JR., and others obtained counterfeit checks made payable to

the individuals.

6. It was further part of the conspiracy that LAGARDO R. WRIGHT, AIJEIGH T.
MCSHAN, CEDRIC A. SHEARD, JR., and others deposited and attempted to deposit the
counterfeit checks into the individuals’ bank accounts using ATMs and mobile deposits.

7. It was further part of the conspiracy that LAGARDO R. WRIGHT, AIJEIGH T.
MCSHAN, CEDRIC A. SHEARD, JR., and others then executed and attempted to execute the
scheme to defraud by withdrawing and attempting to withdraw funds from the accounts before the
federally insured banks determined the checks were counterfeit and could not be negotiated.

All in violation of Title 18, United States Code, Section 1349.
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COUNT 2
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2

1. The allegations contained in paragraphs 2 to 7 of Count One above are re-alleged
and incorporated herein as if fully set forth again.

2. From at least November 24, 2019, and continuing until at least February 18, 2020,
in St. Clair County, within the Southern District of Illinois, and elsewhere,

LAGARDO R. WRIGHT,
AIJEIGH T. MCSHAN, and
CEDRIC A. SHEARD, JR.,

defendants herein, devised and executed, and aided and abetted each other and others in devising
and executing, a scheme to obtain moneys owned by, or in the custody or control of Scott Credit
Union, the deposits of which were insured by the Federal Deposit Insurance Corporation, by means
of material false and fraudulent pretenses, representations and promises.

3. On or around November 26, 2019, in St. Clair County, within the Southern District
of Illinois,

AIJEIGH T. MCSHAN,

defendant herein, for the purpose of executing the aforesaid scheme, did knowingly, and with
intent to defraud, execute the scheme to defraud, and aid and abet others in executing the scheme
to defraud, by depositing a counterfeit United States Postal Service check in the amount of $201.00
made payable to an individual with the initials K.L. at Scott Credit Union in East Belleville, Illinois,
and immediately withdrawing funds before the bank could determine the check was counterfeit.

All in violation of Title 18, United States Code, Sections 1344(2) and 2.
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COUNT 3
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2
1, The allegations contained in paragraphs 2 to 7 of Count One and paragraph 2 of
Count Two above are re-alleged and incorporated herein as if fully set forth again.
2. On or around November 26, 2019, in St. Clair County, within the Southern District
of Illinois,
CEDRIC A. SHEARD, JR.,
defendant herein, for the purpose of executing the aforesaid scheme, did knowingly, and with
intent to defraud, execute the scheme to defraud, and aid and abet others in executing the scheme
to defraud, by depositing a counterfeit United States Postal Service check in the amount of $214.00
made payable to an individual with the initials R.G. into an account at Scott Credit Union in East
Belleville, Illinois, and immediately withdrawing funds before the bank could determine the check
was counterfeit.
All in violation of Title 18, United States Code, Sections 1344(2) and 2.
COUNT 4
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2
1. The allegations contained in paragraphs 2 to 7 of Count One and paragraph 2 of

Count Two above are re-alleged and incorporated herein as if fully set forth again.

2. On or around December 1, 2019, in St. Clair County, within the Southern District
of Illinois,
LAGARDO R. WRIGHT,
defendant herein, for the purpose of executing the aforesaid scheme, did knowingly, and with

intent to defraud, execute the scheme to defraud, and aid and abet others in executing the scheme
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to defraud, by depositing a counterfeit check in the amount of $201.13 made payable to an
individual with the initials T.S. into an account at Scott Credit Union in East Belleville, Illinois,
and immediately withdrawing funds before the bank could determine the check was counterfeit.

All in violation of Title 18, United States Code, Sections 1344(2) and 2.

COUNT 5
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2

1. The allegations contained in paragraphs 2 to 7 of Count One and paragraph 2 of
Count Two above are re-alleged and incorporated herein as if fully set forth again.

2. On or around January 11, 2020, in St. Clair County, within the Southern District of
Illinois,

AIJEIGH T. MCSHAN,

defendant herein, for the purpose of executing the aforesaid scheme, did knowingly, and with
intent to defraud, execute the scheme to defraud, and aid and abet others in executing the scheme
to defraud, by depositing a counterfeit City of St. Louis check in the amount of $228.03 made
payable to an individual with the initials J.H. into an account at Scott Credit Union in West
Belleville, Illinois, and immediately withdrawing funds before the bank could determine the check
was counterfeit.

All in violation of Title 18, United States Code, Sections 1344(2) and 2.

COUNT 6
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2
1. The allegations contained in paragraphs 2 to 7 of Count One and paragraph 2 of

Count Two above are re-alleged and incorporated herein as if fully set forth again.
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2. On or around February 15, 2020, in St. Clair County, within the Southern District

of Illinois,

LAGARDO R. WRIGHT and
CEDRIC A. SHEARD, JR.,

defendants herein, for the purpose of executing the aforesaid scheme, did knowingly, and with
intent to defraud, execute the scheme to defraud, and aid and abet each other and others in
executing the scheme to defraud, by depositing a counterfeit St. Louis County Treasurer check in
the amount of $224.74 made payable to an individual with the initials K.M. into an account at
Scott Credit Union in East Belleville, Illinois, and immediately withdrawing funds before the bank

could determine the check was counterfeit.

All in violation of Title'18, United States Code, Sections 1344(2) and 2.

 

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\LUK E J. WEISSLER
Assistant United States Attorney
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SW STEVEN WEINHOEFT
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STEVEN D. WEINHOEFT
United States Attorney

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Recommended Bond: $5,000 unsecured
